              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:20-cr-00041-MR-DCK


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )              ORDER
                                )
                                )
FREDERICK THOMAS GETTINS        )
STROHM,                         )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s Motion to

Extend Self-Surrender Date [Doc. 333].

     The Defendant is currently scheduled to report to the Federal Bureau

of Prisons (BOP) on March 22, 2021. The Defendant moves the Court to

defer his report date. For grounds, he states that he is now eligible for

vaccination for the coronavirus and wishes to become fully vaccinated prior

to reporting. The Government takes no position on the Defendant’s motion.

     For good cause shown, the Court will grant the Defendant’s motion and

defer the Defendant’s reporting date until at least June 15, 2021.

     IT IS, THEREFORE, ORDERED that the Defendant’s Motion to Extend

Self-Surrender Date [Doc. 33] is GRANTED, and the deadline for the


     Case 1:20-cr-00041-MR-DCK Document 35 Filed 03/19/21 Page 1 of 2
Defendant to report to the Federal Bureau of Prisons is EXTENDED to at

least June 15, 2021.

      The Clerk is directed to provide a copy of this Order to counsel for the

Government, counsel for the Defendant, the United States Marshals Service,

and the appropriate official at the Bureau of Prisons.

      IT IS SO ORDERED.
                           Signed: March 19, 2021




                                         2



     Case 1:20-cr-00041-MR-DCK Document 35 Filed 03/19/21 Page 2 of 2
